
Natural Therapy Acupuncture, P.C. as Assignee of Synthia Cange, Appellant, 
againstCommerce Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered May 31, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in GBI Acupuncture, P.C. as Assignee of Brenetta Selver v State Farm Mut. Auto. Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1477 K C], decided herewith), the order is affirmed.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 15, 2016










